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                                             June 24, 2016

The Honorable Richard G. Andrews                                                      BY E-FILING
The United States District Court
 for the District of Delaware
844 North King Street
Wilmington, DE 19801

                     Re:   Chanbond LLC v. Atlantic Broadband Finance, LLC, et al.,
                           C.A. No. 15-842 (RGA) through C.A. No. 15-854 (RGA)

Dear Judge Andrews:

        The Defendants in these actions write in connection with the June 28 discovery dispute
conference. Defendants request that the Court impose a limit on the number of patent claims that
Plaintiff ChanBond LLC may assert in these matters. At present, Plaintiff asserts 69 claims
across three patents. The parties are set to exchange their proposed lists of terms for construction
on July 11, 2016. C.A. No. 15-842, D.I. 42. Reducing the number of asserted claims in advance
of that date will eliminate the need to construe an excessive number of claim terms, and prevent
the Markman process from becoming unwieldy. Defendants believe that a limit of 8 asserted
claims per patent, or 24 total claims, will permit a workable Markman process, and should allow
the parties to brief 15 or fewer Markman terms as Plaintiff has previously requested.1
Defendants have discussed this matter with Plaintiff, but have been unable to reach agreement.

        Ironically, Plaintiff first raised the concern of a Markman process burdened by too may
claim terms. To address this concern, during the January 7, 2016 scheduling conference,
Plaintiff proposed the parties be restricted to construing a total of 15 claim terms.2 In discussing
this proposal, Defendants noted that the asserted patents contain over 100 claims, and that
assertion of a large number of claims would make Plaintiff’s proposal to limit the number of


1
 For purposes of this proposal, claim terms that can be commonly briefed and argued will be
considered a single claim term.
2
    See Jan. 7, 2016 Hearing Tr. at 9:7-20 (Ex. A).
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Markman terms unworkable. Plaintiff assured the Court that it had no intention of asserting a
large number of claims as the parties entered the Markman process.

         THE COURT: Again, I'm pretty sure Mr. Brauerman can predict what my
         reaction is going to be if they're asserting 80 claims before the Markman. I don't
         think they'll be doing that, right.

         MR. BRAUERMAN: We will not, your Honor.3

        But, contrary to their assurances, Plaintiff’s initial disclosure of asserted claims on May
12, 2016 identified almost every claim of the three patents-in-suit – 108 claims in total – as
asserted.4 Defendants promptly raised the issue with Plaintiff. In response, rather than reduce
the number of asserted claims to a manageable number, ChanBond insisted on asserting 69
claims in its initial infringement contentions on May 26, 2016.5 ChanBond’s infringement
contentions also set forth two theories of infringement, against very different types of equipment,
for many of the asserted claims. The first theory accuses equipment used in the homes of
Defendants’ high-speed data subscribers, and the second theory accuses equipment in
Defendants’ networks used to support high-speed data service.6 And although the allegations
center around a common industry standard (DOCSIS 3.0), the differences in the allegations
against these two types of equipment raises additional claim term disputes, and has the effect of
increasing the size of the case beyond just 69 asserted claims.

        In complex cases, such as this one, the court has “broad discretion to administer the
proceeding.” In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d 1217, 1232 (9th
Cir. 2006). Limitations on the number asserted patent claims have been regularly used as a
docket management tool in this Court, as well as in courts around the country, to promote
judicial economy in cases involving complicated technology. Masimo Corp. v. Philips Elecs. N.
Am. Corp., 918 F. Supp. 2d 277, 282 (D. Del. 2013) (“In this jurisdiction, limiting the number of
claim terms the court will construe and the number of patent claims a party may assert is well
recognized.”); EMC Corp. v. Pure Storage, Inc., C.A. No. 13-1985-RGA, D.I. 66 (D. Del. Sept.
19, 1994) (limiting case to 32 asserted claims in five patents) (Ex. E); Agincourt Gaming LLC v.
Zynga, Inc., C.A. No. 11-720-RGA, D.I. 125 (D. Del. May 14, 2014) (limiting case to eight
asserted claims per patent) (Ex. F); see, also, In re Katz Interactive Call Processing Patent Litig.,
639 F.3d 1302, 1311 (Fed. Cir. 2011) (affirming claim limitation procedure); Havco Wood
Prods., LLC v. Indus. Hardwood Prods., Inc., No. 10-cv-566-WMC, 2011 WL 5513214, at *6
(W.D. Wis. Nov. 10, 2011) (limiting case to three asserted claims per patent); Eagle Harbor
Holdings, LLC v. Ford Motor Co., 2013 WL 6173761, at *1 (W.D. Wash. Nov. 25, 2013)
(limiting case to 35 asserted claims); Medtronic Minimed Inc. v. Animas Corp., 2013 WL

3
    See Jan. 7, 2016 Hearing Tr. at 10:21-25 (Ex. A).
4
    See ChanBond’s Rule 3(c) Disclosure, dated May 12, 2016 (Ex. B).
5
    See ChanBond’sSecond Amended Rule 3(c) Disclosure, dated May 26, 2016 (Ex. C).
6
    See ChanBond’s Rule 4(c) Infringement Contentions, dated May 26, 2016 (Ex. D).
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3322248, at *1 (C.D. Cal. April 5, 2013) (limiting case to four asserted claims per patent); Adobe
Sys. Inc. v. Wowza Media Sys. LLC, No. 11-cv-02243-JST, 2013 WL 9541126, at *1 (N.D. Cal.
May 6, 2013) (limiting case to 20 asserted claims).

         Good cause exists for reducing the number of asserted claims in this matter. Each of the
three patents is asserted against the same two types of equipment, and the practice of the same
industry standard (DOCSIS 3.0). All three asserted patents also share a common specification,
descend from the same parent application, have the same inventors, and address the same subject
matter. This commonality between the asserted patents supports the reduction of the number of
asserted claims in this action. Masimo, 918 F. Supp. 2d at 284 (limitation of asserted claims
appropriate in light of “the genealogy of the asserted patents and the relationship among them”).
The 69 asserted claims encompass largely overlapping subject matter that could readily be
represented by a smaller number of claims. As it stands, the sheer number of claims makes this
litigation “unwieldy.” See, e.g., id. at 282 (“[M]ore than 95 claims are asserted by Masimo on
seven patents, averaging more than 12 claims per patent, making this litigation unwieldy.”).

                                             Respectfully,

                                             /s/ Jennifer Ying

                                             Jennifer Ying (#5550)

JY:pab
Attachments

cc:    Clerk of Court (by hand; w/attachments)
       All Counsel of Record (by e-mail; w/attachments)
